                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JEFFREY CLAYTON KANDIES,               )
                                       )
                      Petitioner,      )
                                       )
                v.                     )     1:99CV00764
                                       )
MARVIN POLK, Warden,                   )
Central Prison,                        )
Raleigh, North Carolina,               )
                                       )
                      Respondent.      )


                               O R D E R

     In this habeas corpus action, petitioner has filed a motion to

conduct limited discovery.     The following history is important to

understanding the resolution of the matter. On March 4, 2003, this

Court entered a Judgment denying petitioner’s petition for a writ

of habeas corpus.     The United States Court of Appeals for the

Fourth Circuit affirmed the denial of petitioner’s habeas petition

on September 24, 2004.      Kandies v. Polk, 385 F.3d 457 (4th Cir.

2004).   On June 27, 2005, the Supreme Court of the United States

granted petitioner’s writ of certiorari, vacated the Judgment, and

remanded the case to the Fourth Circuit for further consideration

in light of the intervening decision in Miller-El v. Dretke, 545

U.S. 231, 125 S.Ct. 2317 (2005).        The Fourth Circuit, in turn,

remanded the case to this Court for reconsideration.

     While the present matter before the Court concerns a seemingly

more limited aspect of the case, i.e., petitioner’s motion for
discovery, as will be seen, resolution of this motion requires some

detailed consideration of the reasons the case was remanded for




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reconsideration.        Consequently, the previously ordered briefing

schedule has been stayed pending the resolution of this issue.

Respondent     has     filed   a    brief    in     opposition     to   petitioner’s

discovery request, petitioner has replied, and the motion is now

ready for a ruling.

      The specific issue before the Court concerns whether the jury

selection in petitioner’s case ran afoul of Batson v. Kentucky, 476

U.S. 79 (1986), because black jurors were impermissibly excused by

the prosecution because of their race.                Petitioner, who is a white

male,1 was convicted of first-degree murder and sentenced to death.

State v. Kandies, 342 N.C. 419, 467 S.E.2d 67 (1996).                       Both this

Court and the Court of Appeals found petitioner was not entitled to

relief under the then current standard set out in Batson, which

requires a prosecutor to give a facially neutral reason for the

exercise of a peremptory challenge. That was the standard employed

by the trial judge in this case.                 (Jury Select. Tr. Vol. III at

578.) The remand requires the Court to determine whether the later

decision of Miller-El so alters the understanding of Batson as

applied by the state court so as to require a different result in

this case.

      Prior    to    Batson,       the   first    restriction      on     the   use   of

peremptory challenges came in Swain v. Alabama, 380 U.S. 202

(1965).       There,    the    Supreme      Court    held   that    the    deliberate


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       The fact that petitioner is a different race from that of the excluded
jurors makes no difference because the Constitution not only protects defendants
against discrimination, but the jurors themselves. Miller-El v. Dretke, 545 U.S.
231, 125 S.Ct. 2317, 2342 (2005)(Breyer, J., concurring).

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exclusion of potential jurors on the basis of race violates the

Equal Protection Clause.          In order to raise a prima facie case of

discrimination        in   the   jury   selection    process,    however,   Swain

required a showing of a “systematic use of peremptory challenges .

. . over a period of time.”             Swain, 380 U.S. at 227.      Over twenty

years later, in Batson, 476 U.S. 79, the Supreme Court found

Swain’s systematic discrimination requirement presented too high a

hurdle    for    the       meaningful      protection      against    purposeful

discrimination in jury selection. Therefore, it attempted to lower

the bar by holding that a defendant could show discrimination by

focusing on the prosecutor’s actions in selecting the defendant’s

own jury in order to establish a constitutional violation.                   See

Miller-El, 125 S.Ct. at 2322-23. Twenty years later, this standard

was also found to have significant limitations.                      As found in

Miller-El, coming up with facially neutral reasons, even if false,

for the exercise of a peremptory challenge is not difficult.                 Id.

at   2325.      It,    therefore,       adjusted    both   the   Batson   hearing

procedures and review.

      The adjustment of the Batson procedure wrought by Miller-El

has the purpose of requiring trial courts be more critical of

proffered race-neutral explanations. Miller-El, 125 S.Ct. at 2325.

The Supreme Court specifically found that “Batson’s individualized

focus came with a weakness of its own owing to its very emphasis on

the particular reasons a prosecutor might give.                  If any facially

neutral reason sufficed to answer a Batson challenge, then Batson
would not amount to much more than Swain.”                 Id.   To address that


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problem, the Supreme Court established a, hopefully, more objective

procedure with which to consider and determine the issue of intent

in making peremptory challenges.         It recognized that because there

often may be multiple bases for a person’s intent, the ability to

determine whether the intent should be labeled discriminatory is

not   an   easy   task    which    can   be   performed    with   certainty.2

Notwithstanding that the determination of the “true intent” behind

peremptory challenges may be rather illusive, the Supreme Court has

made it clear that the State and the prosecutor must defend the

prosecutor’s intent based on the first reason given, presumably

with the idea that while this reason may not always reveal “true

intent,” it often will.           Id. at 2332.    This requires the trial

judge to focus entirely on whether the prosecutor’s first stated

reason appears reasonable, as opposed to trying to determine

whether other reasons would support the challenge.                Indeed, the

Supreme Court has made it clear that such post hoc reasoning may

not be used as a basis for rejecting a Batson challenge either at




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       In tightening the Batson procedure, the Supreme Court acknowledged that
peremptory challenges were often a matter of “instinct,” but that, nevertheless,
a prosecutor “simply has got to state his reasons as best he can and stand or
fall on the plausibility of the reasons he gives. Miller-El, 125 S.Ct. at 2332.
And, as Justice Breyer recognized in his concurrence, the task at hand in
evaluating those reasons can often amount to “second-guessing a prosecutor’s
instinctive judgment –– the underlying basis for which may be invisible even to
the prosecutor exercising the challenge.”       Id. at 2340-2341 (Breyer, J.,
concurring). Peremptory challenges are often based on difficult to articulate
intuitive feelings and perceptions.


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the trial or on subsequent review, be it on appeal or on federal

habeas review.3            Id.

        Second, the Supreme Court emphasized that the trial judge was

required to examine all of the evidence at the trial and not just

whether the prosecution’s reason was facially neutral.                                 Id. at

2325.       In Miller-El, this evidence, for example, consisted of a

comparative analysis of questions asked to and answers given by

white       potential       jurors       and    black         potential    jurors     and    any

manipulation of juror seating.                      Also, such evidence could include

Swain-type pretrial or extra-trial evidence introduced at the

Batson challenge, such as a history of a formal practice of

systematically excluding blacks from juries.

        With the above observations in mind concerning Miller-El, the

Court will examine petitioner’s request to conduct discovery.                                He

seeks       to    gather    the        following     information:         (1)   all   previous

peremptory         challenges          made    by    Prosecutors      Garland       Yates   and

Elizabeth Toomes in other cases that have been subject to Batson

challenges;          (2)         all     lectures/speeches           presented        by,     or

articles/papers written by, Prosecutors Garland Yates and Elizabeth

Toomes       regarding       jury       selection        in    criminal    cases;     (3)   any

training/educational materials provided by the district attorney’s

office       or    judicial        district         to    prosecutors       regarding       jury

selection; (4) the juror questionnaires used by Prosecutors Garland


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       This may result in the increased granting of relief for Batson challenges
by the trial judge acting cautiously and prophylactically, when one group has
been significantly disproportionately challenged by the prosecution. Thus, the
fact of disproportionate challenges may well assume greater importance.

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Yates and Elizabeth Toomes in this case; and (5) all notes,

memoranda, criminal records, and written materials regarding jury

selection used by Prosecutors Garland Yates and Elizabeth Toomes in

this case.          Respondent opposes all discovery on the basis that it

was not presented to or considered by the state court in making its

determination.         See 28 U.S.C. § 2254(d)(2).

        This Court has discretion to allow parties to federal habeas

proceedings to engage in discovery.

        Rule 6(a) of the Rules Governing Section 2254 Cases
        requires a habeas petitioner to show good cause before he
        is afforded an opportunity for discovery. . . . Bracy v.
        Gramley, 520 U.S. 899, 117 S.Ct. 1793, 1799, 138 L.Ed.2d
        97 (1997). Good cause is shown if the petitioner makes
        a specific allegation that shows reason to believe that
        the petitioner may be able to demonstrate that he is
        entitled to relief. Harris v. Nelson, 394 U.S. 286, 300,
        89 S.Ct. 1082, 22 L.Ed.2d 281 (1969); Bracy, 117 S.Ct. at
        1799 (approving the Harris standard).

Quesinberry v. Taylor, 162 F.3d 273, 279 (4th Cir. 1998).                      In

addition, it follows that there is no point allowing discovery if

there will not be a hearing at which to present the evidence.

Lawson v. Dixon, 3 F.3d 743, 753 (4th Cir. 1993).

        In    the    instant   case,    the    standard   governing   a   court’s

discretion to grant a hearing is found in “the Antiterrorism and

Effect [sic] Death Penalty Act (AEDPA) of 1996, Pub.L. No. 104-132,

110 Stat. 1414 (1996).            Where AEDPA applies, the standard is

articulated in 28 U.S.C. § 2254(e)(2).”               Kelley v. Secretary for

Dept.        of   Corrections,    377    F.3d     1317,   1333-37     (11th   Cir.

2004)(setting out the history and development of the pre- and post-

AEDPA standards). The first threshold is that a hearing may not be



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granted if petitioner failed to develop his claim in state court.4

Fullwood v. Lee, 290 F.3d 663, 681 (4th Cir. 2002)(citing the test

set   out   in   Williams   v.   Taylor,    529   U.S.   420   (2000)(lack    of

diligence or some greater fault)).            Diligence requires that the

petitioner make some reasonable attempt to take the steps necessary

to receive a hearing.        Getsy v. Mitchell, 456 F.3d 575, 595 (6th

Cir. 2006)(citing Williams v. Taylor, supra).

      Next, the alleged facts must, if true, entitle petitioner to

relief.     Fullwood, supra.     Finally,

      petitioner must establish one of the six factors set
      forth in Townsend v. Sain, 372 U.S. 293, 312, 83 S.Ct.
      745, 9 L.Ed.2d 770 (1963).FN7 . . .

             FN7. The six Townsend factors are:

             (1) the merits of the factual dispute were not
             resolved in the state hearing; (2) the state
             factual determination is not fairly supported
             by the record as a whole; (3) the fact-finding
             procedure employed by the state court was not
             adequate to afford a full and fair hearing;
             (4) there is a substantial allegation of newly
             discovered evidence; (5) the material facts
             were   not   adequately   developed   at   the
             state-court hearing; or (6) for any reason it




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       With respect to evidence not presented to the state trial court, there is
a possibility that such evidence can be used to evaluate the prosecutor’s reasons
if it were subsequently placed in the record without objection. In Miller-El,
such evidence consisted of jury questionnaires. The dissent in Miller-El would
have excluded that evidence because it could have been developed and presented
at the state court level at the Batson hearing and, therefore, should have been
excluded from use in federal court by 28 U.S.C. § 2254(e)(2). Miller-El, 125
S.Ct. 2348 (Thomas, J., dissent). The majority did not directly discuss that
issue, except in a footnote which could be read as considering the questionnaires
a part of the record in the federal district court because no one objected to the
receipt of that supplemental material, even though the claim based on this
evidence was never presented to the state trial judge. Id. at 2335 n.15.

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           appears that the state trier of fact did not
           afford the habeas applicant a full and fair
           fact hearing.

           372 U.S. at 313, 83 S.Ct. 745.

Fullwood, 290 F.3d at 681.

     In other words, in order to allow discovery in the instant

case, the Court must find the facts sought would likely entitle

petitioner to relief and that petitioner has sufficiently made an

attempt to receive a hearing concerning these facts in state court.

The Court will now examine the record in the state court in order

to determine what matters would be within the proper scope of an

evidentiary hearing.

     The first Batson challenge occurred not far into the voir

dire.   (Jury Select. Tr. Vol. I at 121.)     At that time, petitioner

objected that the prosecution challenged three minority members,

two blacks and one oriental, for cause.       Those challenges are not

part of the matter under consideration.         He also objected that

three blacks were challenged peremptorily.      At the Batson hearing,

the prosecutor gave the following reasons for his peremptory

challenges.   Mrs. Randelman was challenged because she did not

reveal she had a worthless check and two speeding violations, and

she was hesitant on death penalty questions.         Ms. Jinwright was

excused because she had a three- or four-year-old child and was

hesitant on the death penalty, and Ms. Massey allegedly because she

had hearing problems.      (Id. at 124.) Petitioner had apparently

previously made a motion for the juror’s criminal record used by




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the prosecutor, which had been denied and was again denied at a

later point in the voir dire.       (Jury Select. Tr. Vol. III at 599.)

     As   noted   above,   with   respect     to   the   criminal   records,

petitioner had previously sought the criminal records which the

State relied on to explain its reasons for excusing jurors.           Thus,

he made a sufficient attempt to make the records a part of the

Batson hearing. The information could entitle petitioner to relief

for the following reasons.        If the State discriminatorily used

those records by only collecting or using the criminal convictions

of blacks, as opposed to whites, this would serve to establish

discriminatory intent in jury selection.           Therefore, petitioner’s

request concerning the criminal records relied on by the prosecutor

to exercise peremptory challenges was and is a proper subject of

discovery.   Furthermore, to the extent that those exact records do

no longer exist, then petitioner may attempt to reconstruct those

records by examining the prosecutor’s notes and any other written

material used during jury selection.

     As a further part of the Batson proceeding on these three

jurors, petitioner also introduced evidence in the following form:

     Your Honor, please, and we would submit that there is a
     cause or design. We further submit, Your Honor, please
     of an evidentiary nature, in my ten years of practice,
     Your Honor, please, it has not been my experience that he
     has left a single minority member on the jury that he has
     picked.

(Jury Select. Tr. Vol. I at 123.)         This evidentiary submission was

not addressed either by the prosecution or the court.

     Miller-El     makes    clear     that     historical     evidence    of

discrimination can be a proper subject of consideration.            In that

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case, evidence in the form of a jury selection manual encouraging

or mandating discriminatory jury selection was deemed an important

part of the consideration of the Batson challenge.          Miller-El, 125

S.Ct. 2338. In the instant case, the defense attorney stated that

in his experience in trials with Prosecutor Yates, the prosecutor

had never seated a minority member. This evidence was not rebutted

in any fashion.     It became part of the evidence.

      As part of discovery, petitioner seeks to review all previous

peremptory challenges made by both prosecutors which have been

subject to a Batson challenge, all lectures presented or articles

written by the prosecutors, and any training material provided by

the District Attorney’s Office.      The Court finds these requests to

be too broad, in that no presentation was made to the state court

concerning any of these items.        Petitioner’s attorney, Mr. Bell,

only introduced evidence that, in his experience with Mr. Yates,

Mr. Yates had not accepted even one black juror.                Because this

relevant issue was fully presented to the state court, but ignored,

it is a proper subject of further discovery and hearing. Robinson
v. Polk, 438 F.3d 350, 370 (4th Cir. 2006)(Section 2254(e)(2) does

not apply when a petitioner was diligent in pursuing the hearing of

a claim in state court –– only the Townsend v. Sain, supra, factors

apply).   The trial court did not address this evidence and, thus,

it is a proper subject of a federal hearing.         That is, petitioner,

or   respondent,   may   examine   the    prior   record   of   state   cases

involving both Mr. Yates and Mr. Bell to determine the patterns, if

any, of Mr. Yates in peremptorily excluding black jurors.                 The


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parties may likely start with having Mr. Bell identify those

proceedings to which he referred during the voir dire.

        The   next    Batson   challenge     involves     jurors   Rawlinson    and

McClure.       (Jury Select. Tr. Vol. I at 159.)                As to them, the

prosecutor defended excusing them on the grounds that neither had

a strong opinion for or against the death penalty and, in addition,

Mr. McClure was nodding off.              The prosecutor also added that he

discussed the panel with the High Point Police Department and they

indicated Mr. McClure and Ms. Rawlinson would not be good jurors

for this type of case. As noted by the Fourth Circuit, prosecutors

can certainly solicit help from the police, but it would be highly

unlikely that the police could advise prosecutors concerning the

jurors’ stance on the death penalty.               Kandies v. Polk, 385 F.3d at

475-476.      The state court directed the prosecutor to elaborate on

the issue of why the High Point Police Department did not feel they

would    be    good    jurors.      The    prosecutor     failed   to    give   any

explanation as to why the police would have a basis for offering an

opinion and the court did not require further explanation.                      It

should be noted that this reason given by the prosecutor would have

to arise from pretrial contact evidence, not evidence developed at

the voir dire hearing.           It may be that respondent would wish to

further develop this information to remove the suspicion arising

from a prosecutor’s use of questionable extra-judicial information

as an explanation for a Batson                   challenge.     However, because

petitioner      did    not   make   a   request     to   have   such   information

developed at the voir dire hearing, and because neither petitioner


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nor respondent has sought discovery on this matter, the Court will

not take any action at this time.

       The next Batson challenge involved three jurors and the

reasons given by the prosecutor to excuse them was, again, record

checks: (1) Mr. Campbell (Jury Select. Tr. Vol. III at 576), Mr.

Hines (Jury Select. Tr. Vol. III at 598), and Mr. Wilson (Jury

Select. Tr. Vol. IV at 745).            For the reasons previously stated,

the Court will grant petitioner’s motion with respect to obtaining

the criminal records which were used by the prosecutor to screen

the jurors.

       Finally, petitioner requests the jury questionnaires used by

both    prosecutors       in   this   case.     He   seeks    to   examine    the

questionnaires to see if notations of race were placed by the

jurors.       In Miller-El, such material was relevant because the voir

dire occurred prior to Batson and there would have been no reason

to mark a juror’s race.             Miller-El, 125 S.Ct. at 2339.            Post-

Batson, the questionnaires would not be nearly so relevant because

keeping track of a juror’s race may be necessary to make sure that

a disproportionate number of any group is not peremptorily excused.

More importantly, as noted previously, discovery will only be

granted with respect to issues which petitioner attempted to raise

or     were    actually    raised     during   the   Batson   hearing.         The

prosecutor’s jury questionnaires were not sought at the Batson

hearing. Were the Court to grant discovery as petitioner requests,

it would inject a whole new basis for a claim never presented to

the state court; and, further, to do so would dramatically alter a


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federal court’s involvement in state court proceedings and permit

what would amount to a trial de novo concerning the Batson issue.5

Such involvement should be avoided if possible because, if a

defendant    is   relieved    from    responsibility    for   developing     or

attempting to develop the record at the State Batson hearing, it

would permit, if not encourage, gaming and sandbagging on the

behalf of defense counsel.           See Billings v. Polk, 441 F.3d 238,

245-46 (4th Cir. 2006).       That is, there would be no incentive to

develop the record if it could be done at a later date.               In fact,

having the trial court make an error would be beneficial to

defendant when it would mean a new trial if the verdict was

unfavorable.

      IT IS THEREFORE ORDERED that petitioner’s motion for discovery

(docket no. 50) is granted in part and denied in part.             The motion

is granted with respect to discovery of the criminal record checks

run on members of the jury venire and the issue of Mr. Yates’

exercise of peremptory challenges in his cases with Mr. Bell.               The

motion is denied with respect to all other requests.

      IT IS FURTHER ORDERED that the parties will, within twenty

days, present the Court with a discovery timetable so it will know

when discovery has ended.



                                      ________________________________
                                       United States Magistrate Judge
October 2, 2006


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       Petitioner does not show that the jury questionnaires have somehow become
a part of the state court or federal court review process. See n.4, supra.

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